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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF GEORGIA



 STATE OF MISSOURI, et al.,

                       Plaintiffs,

            v.                                         Case No. 2:24-cv-00103-JRH-CLR

 UNITED STATES DEPARTMENT OF
 EDUCATION, et al.,

                       Defendants.


             DEFENDANTS’ MOTION FOR LEAVE TO FILE EXCESS PAGES
        Defendants respectfully move this Court for an order allowing them to exceed the 26-page

limit imposed by Local Rule 7.1(a) for their forthcoming response to Plaintiffs’ Combined Motion for

Stay/Preliminary Injunction/Temporary Restraining Order, ECF No. 5, which is due today, ECF No.

17. Defendants move the Court to extend the page limit by six pages, to allow them to file a brief

totaling 32 pages.

        As good cause for this request, Defendants note that the motion to which Defendants are

responding is 52 pages long, after the Court granted Plaintiffs’ motion for 30 additional pages. ECF

No. 4. Defendants need the six additional pages to fully develop their arguments in response to

Plaintiffs’ lengthy filing.

        Earlier today, counsel for Defendants emailed counsel for Plaintiffs to request Plaintiffs’

position on this motion. Plaintiffs’ counsel did not respond, as of the time of this filing.
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Dated: September 10, 2024             Respectfully submitted,

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